Case 2:04-Cv-02576-.]PI\/|-tmp Document 52 Filed 07/05/05 Page 1 of 3 Page|D 52

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IN THE UNITED sTA'rEs DISTRICT CoUR'r mfg m *H%Z" D‘c’
FoR THE WESTERN DISTRICT oF TE:NNESSEE ,
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M.ARK CR.AIG B.l\.G'lV'\TELLIr
Plaintiff,

'V.
NO. 041-2576 Ml/P
MEMPHIS-SI'IELBY COUNTY AIRPORT
AUTHORITY, LA.`RR'Y COX, and
MIKE I-IILL,

Defendants.

v"vvvvv-vvv

 

ORDER TO SHOW CAUSE

 

Before the Court is Defendants' Motion to Dismiss and
Defendants’ Motion to Strike Jury Demand, filed on November 23,
2004. Having reviewed the record, the Court finds that a
question exists regarding whether this Court may properly
exercise subject matter jurisdiction over Plaintiff’s claims

against a governmental entity and its employees. ee In re

 

gewi§, 398 F.3d. 735, 739 (6th Cir. 2005) (“The existence of
subject matter jurisdiction may be raised at any time, by any
party, or even sua Sponte by the court itself”) (citations
omitted). Plaintiff is hereby ORDERED to SHOW CAUSE within

twenty (20) days of the date of entry of this Order why each of

”l’his document entered on the docket sheet fn compiiance
with Ru|e 58 and/or 79(a) FRCP on ` '

Case 2:O4-Cv-O2576-.]P|\/|-tmp Document 52 Filed 07/05/05 Page 2 of 3 Page|D 53

Plaintiff's claims against Defendants should not be dismissed for
lack of subject matter jurisdiction.1

Failure to respond to this Order to Show Cause in a timely
manner may result in the Court dismissing Plaintiff's claims

against Defendants.

So ORDERED this _éz day of July, 2005.

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J N P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

1 To comply with this Order, Plaintiff must file a written

response to the Order to Show Cause.

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DISTRIT oURT - WESTRNE ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CV-02576 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

David P. J aqua

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Honorable J on McCalla
US DISTRICT COURT

